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                        Exhibit G
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                                                                                            V




Then stop being racists. Co-signing and ,defending a
racist and his racist rhetoric makes you racist. Point
blank~




    'We're Al'I Tired of Being Called Racists'
1
    At Donald Trump's rally in Cincinnati,. drO\les of attendees made it dear i.:hat they
    stood \•Vith the president despite his recent con,ments.
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